
Order of the Appellate Division modified, insofar as it holds the designating petitions void in part for failure to designate candidates for County Committeemen separately by sexes, and as to that question order reversed and proceeding dismissed and, as so modified, order in all other respects affirmed. We hold that the form of these petitions meets the requirements of section 12 of the Election Law since they adequately disclose *752which candidates are male and which are female only. No opinion.
Concur: Judges Desmond, Dye, Van Voorhis, Burke, Bergan #, MacAeeer * and Taylor *.

 Designated pursuant to section 5 of article VI of the State Constitution in the temporary absence of Chief Judge Conway and Judges Fold and Froessed.

